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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION

MACK ARTHUR BOWENS,                                                            PETITIONER,

VS.                                           CIVIL ACTION NO. 2:00CR094-WAP

UNITED STATES OF AMERICA,                                                      DEFENDANT.


                                             ORDER


        This matter comes before the court upon Mack Arthur Bowens’ October 10, 2008 motion

for recusal [344]. After due consideration of the motion, the court finds as follows, to-wit:

        On August 15, 2007 the court entered an Order denying the petitioner’s original motion for

recusal which is substantially the same as the instant motion for recusal. On September 8, 2008 the

Fifth Circuit Court of Appeals dismissed the petitioner’s appeal of the aforementioned Order and

vacated the Order, concluding that this court lacked jurisdiction over the motion to recuse because

there was nothing pending before this court at that time. The Fifth Circuit wrote that they “express

no opinion about the merits of such a motion should a subsequent proceeding involving this

Appellant and the judge arise....”

        Since the Court of Appeals entered its Order, the petitioner filed a motion to vacate his

sentence pursuant to 28 U.S.C. § 2255 on March 5, 2008. On October 10, 2008 the petitioner filed

the instant motion for recusal. Given that there is now a pending matter before the court, this court

would not run afoul of the Fifth Circuit’s order by ruling upon the pending motion for recusal.

        The court will reiterate its reasoning in its August 15, 2007 Order.

        A district court’s ruling on a motion for recusal is reviewed by a court of appeals for abuse


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of discretion. Andrade v. Chojnacki, 338 F.3d 448, 454 (5th Cir. 2003). The standard for recusal is

an objective one. 29 U.S.C. §§ 144, 455; Trevino v. Johnson, 168 F.3d 173 (5th Cir. 1999). The

relevant inquiry is whether a “reasonable man, were he to know all the circumstances, would harbor

legitimate doubts about the judge’s impartiality.” U.S. v. Anderson, 160 F.3d 231, 233 (5th Cir.

1998). The alleged bias must be personal, as distinguished from judicial, in nature. U.S. v. Scroggins,

485 F.3d 824, 830 (5th Cir. 2007). Furthermore, a motion for recusal may not be predicated upon the

judge’s rulings in the instant case.” Id. at 830.

       Contrary to the petitioner’s allegations, the court finds that recusal is unwarranted.

       IT IS THEREFORE ORDERED AND ADJUDGED that Mack Arthur Bowens’ October

10, 2008 motion for recusal [344] is DENIED.

       SO ORDERED this the 2nd day of June, A.D., 2009.

                                                        /s/ W. Allen Pepper, Jr.
                                                        W. ALLEN PEPPER, JR.
                                                        UNITED STATES DISTRICT JUDGE




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